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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF NORTH DAKOTA
                       SOUTHWESTERN DIVISION
________________________________________________________________________

                                                       Case No. 16-CV-262-DLH-ARS
Dr. Jayaram Bharadwaj,

                      Plaintiff,

      v.                                               NOTICE OF APPEAL


Mid Dakota Clinic, P.C., Dr. Robert
Tanous, Dr. Shelly Seifert, Dr. Vijay
Rao, Marvin Lein, Dr. Steve Hamar, and
Board of Directors, Mid Dakota Clinic, P.C.

                 Defendants.
________________________________________________________________________

      Notice is hereby given that Dr. Jayaram Bharadwaj, Plaintiff in the above-named

case, hereby appeals to the United States Court of Appeals for the Eighth Circuit from the

final Judgment entered in this action on June 13, 2018 (Doc. No. 137), the amended final

Judgment entered in this action on June 29, 2018 (Doc. No. 140), the Order entered in this

action on June 13, 2018 granting Defendants’ Motion for Summary Judgment (Doc. No

136) and the Order entered in this action on June 29, 2018 as to costs (Doc. No. 139).

Dated: July 3, 2018                      MADIA LAW LLC

                                         s/J. Ashwin Madia_______________
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